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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

                                                )
 JANE DOE,                                      )
                                                )
         Plaintiff,                             )
                                                )
 v.                                             )       Case No. 1:18-cv-614 (MSN/IDD)
                                                )
 FAIRFAX COUNTY SCHOOL BOARD,                   )
                                                )
         Defendant.                             )
                                                )

                           THE PARTIES’ STATUS UPDATE
                      AND MOTION TO CONTINUE THE TRIAL DATE

         Plaintiff Jane Doe and Defendant Fairfax County School Board, through counsel,

 respectfully update the Court on the status of this matter, and move the Court to continue the trial

 date. See Docket No. 390 (“the Court shall hold a status hearing on June 10, 2022, or ten (10) days

 following any denial by the United States Supreme Court of defendant’s pending petition for

 certiorari, whichever is earlier”).

         On Monday, May 16, 2022, the Supreme Court of the United States issued an order

 regarding the pending petition for certiorari in which the Court invited the Solicitor General to file

 a brief expressing the views of the United States. We do not know the schedule upon which the

 Solicitor General will file her brief expressing the views of the United States but reasonably

 anticipate that brief to be filed in the first part of the new term of the Supreme Court given the

 United States’ participation in other recent Title IX litigation raising the same or similar issues.

         As a result, the Parties are in agreement that this Court should continue the current trial

 from August 9, 2022. The Parties differ as to the length of the continuance.

                Plaintiff requests that the Court reschedule the trial to a date in December 2022.
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               Defendant requests that the Court wait to set a trial date until the Supreme Court

                has resolved the pending petition for certiorari.

        The Parties jointly request that the Court: (1) set a status conference for mid-October 2022,

 or at least 60 days in advance of any new trial date, whichever is earlier; (2) order the Parties to

 update this Court within five (5) business days of any further action taken by the Supreme Court

 on the petition for certiorari; and (3) if certiorari has been denied, include in such update a proposed

 plan for any additional discovery and a schedule for pre-trial motions.

        The Parties waive a hearing on this Motion.

 Date: June 2, 2022                     Respectfully submitted,

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